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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEVADA



ANGELA BOYKIN,individually and on                   Case No.
behalf of all others similarly situated,

                            Plaintiff,              CLASS ACTION COMPLAINT

       v.                                           DEMAND FOR JURY TRIAL

NATIONAL ASSOCIATION OF
REALTORS; UMRO REALTY CORP.
d/b/a The Agency; CHASE
INTERNATIONAL,INC.; DICKSON
REALTY,INC.; COMPASS,INC.; eXp
WORLD HOLDINGS,INC.; THE REAL
ESTATE GUY INC.; BFIII AFFILIATES,
LLC; DOUGLAS ELLIMAN INC.;
DOUGLAS ELLIMAN REALTY, LLC;
HOMESMART INTERNATIONAL LLC;
CRAIG TANN,LTD d/b/a
HUNTINGTON & ELLIS A REAL
ESTATE AGENCY; REALTY ONE
GROUP;REALTY ONE GROUP
EMINENCE; REDFIN CORPORATION;
URBAN NEST REALTY,LLC;
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 1     NEVADA REALTORS; GREATER LAS
       VEGAS ASSOCIATION OF
 2     REALTORS; GREATER LAS VEGAS
       ASSOCIATION OF REALTORS
 3     MULTIPLE LISTING SERVICE,INC.;
       ELKO COUNTY REALTORS;INCLINE
 4     VILLAGE REALTORS,INC.; SIERRA
       NEVADA REALTORS; NORTHERN
 5     NEVADA REGIONAL MULTIPLE
       LISTING SERVICE,INC.; MESQUITE
 6     REAL ESTATE ASSOCATION,INC., A
       NEVADA NON-PROFIT
 7     CORPORATION;
                              Defendants.
 8

 9
             Angela Boykin ("Plaintiff'), brings this action on behalf of herself and on behalf of
10
      the Class consisting of all persons who listed properties on a Multiple Listing Service in
11
      Nevada using a listing agent or broker affiliated with one of the Defendants named herein and
12
      paid a buyer broker commission from four years prior to the filing of this complaint, until
13
      the present("the Class Period"). In support thereof, Plaintiff respectfully alleges as follows:
14

15           1.      The creator of the conspiracy is the National Association of Realtors

16 ("NAR"), a trade association for real estate brokers with over 1.5 million individual

17    members. NAR conspired with its largest affiliated associations in Nevada and some ofthe

18    largest real estate brokerages that worked in Nevada during the Class Period.

19           2.      Defendants include NAR, and the following brokerages: UMRO Realty

20    Corp. d/b/a The Agency, ("The Agency"), Chase International Real Estate ("Chase

21    International"), Dickson .Realty ("Dickson"), Compass, Inc. ("Compass"), eXp World

22   Holdings, Inc. ("eXp"), The Real Estate Guy, 1311H Affiliates, LLC ("BFIHS"), Douglas

23   Elliman Inc. ("DEI"), Douglas Elliman Realty, LLC ("DER"), IIomeSmart International

24   LLC ("HomeSmart"), Craig 'Tann, LTD d/b/a Huntington & Ellis A Real Estate Agency

25   ("Huntington & Ellis"), Realty One Group ("Realty One"), Realty One Group Eminence,

26   Redfin Corporation ("Redfin"), Urban Nest Realty ("Urban Nest") (the "Broker

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 1   Defendants")'. Also included are the named regional Realtor associations and multiple

 2   listing services("MLS").

 3           3.     An MLS is a database and platform used by real estate agents and brokers to

 4   share information about properties for sale and find available listings for prospective buyers.

 5           4.     MLSs act as reservoirs of property listings available for sale in defined

 6   geographic regions, and thus play a pivotal role in the real estate ecosystem. Most homes in

 7   the United States are traded through MLS platforms, where brokers are often obligated to

     include all properties. These MLSs are primarily governed by local NAR associations, and

 9   access is granted contingent upon broker compliance with NAR's mandatory regulations

10   outlined in the Handbook on Multiple Listing Policy. This handbook explicitly incorporates

11   the Mandatory Offer ofCompensation Rule, which require all home sellers to agree to make

12   a blanket, unilateral and effectively non-negotiable offer of buyer broker compensation

13   when listing a property.

14           A.     NAR's Regulatory Dominion and Mandatory Offer of Compensation
                    Rule
15

16           5.     NAR,an organization with considerable influence in shaping the real estate

17   landscape, is at the core of the conspiracy.

18           6.     NAR wields its regulatory authority to impose a rule known as the

19   "Mandatory Offer of Compensation Rule." This rule dictates that every property seller,

20   when listing their home on an MLS affiliated with a local NAR association, must make a

21   sweeping, non-negotiable offer of compensation to buyer brokers. The Defendants, acting

22   in concert with NAR, pressurize or incentivize their franchisees, brokers, and agents to

23   become NAR members and adhere to its regulatory regime. Through this concerted effort,

24   they ensure the implementation and enforcement of the Mandatory Offer of Compensation

25   Rule.

26    Plaintiff also alleges that real estate brokerages Anywhere Real Estate, Inc.(f/k/a Realogy
     Holdings Corp.) ("Anywhere") and RE/MAX LLC ("RE/MAX"), along with their
27   subsidiaries, would be named as defendants in this Complaint, but for the recently approved
     settlement in Sitzer et al v. National Association ofRealtors et al, Case No. 4:19-cv-00332-
28   SRB (W.D. Mo.). See November 20, 2023 Order Approving Plaintiffs' Motion for
     Preliminary Settlements, Dkt. No. 1321.
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 1          B.      Stifling Competitive Markets

            7.      In many MLSs, NAR compels broker compliance with rules that curtail
 3
     competition. Furthermore, each Defendant mandates or encourages their franchisees,
 4
     brokerages, and individual realtors to join NAR and implement its anticompetitive
 5
     regulations, including the Mandatory Offer of Compensation Rule, as a prerequisite for

     enjoying the benefits of Defendants' branding, brokerage support, and other resources.
 7
            8.      As prominent brokers in Nevada, their involvement in the alleged
 8
     conspiracy, manifested through the implementation and enforcement of its rules and
 9
     policies, is indispensable to the conspiracy's prosperity.
10
            9.      These anticompetitive measures favor the Defendants by enabling brokers
11
     to impose charges on home sellers beyond competitive thresholds and thwarting
12
     competition from innovative or lower-cost alternatives.
13
            C.      Home Seller Burden
14
            10.     The alleged conspiracy compels home sellers to bear a cost that, in a
15
     competitive market and in the absence of the Defendants' anticompetitive restraint, would
16
     typically be borne by the homebuyer.
17
            1 1.    Further, this has led to an industry-recognized practice called "steering,"
18
     where homeowners are pressured into accepting inflated or stabilized rates out of fear that
19
     buyer brokers will not otherwise show their home to prospective buyers.
20
            D.      Competitive Imbalance
21
            12.     In the absence of NAR's Mandatory Offer of Compensation Rule, the
22
     expense ofbuyer broker commissions would be incurred by their clients(homebuyers). This
23
     would lead to competition among buyer brokers to offer lower commission rates.
24
            13.     Consequently, the Mandatory Offer of Compensation Rule stifles price
25
     competition among buyer brokers because the actual party retaining the buyer broker—the
26
     homebuyer doesn't negotiate or pay the commission for their broker.
27

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       E.      Anticompetitive Effects
        14.    Adding to the anticompetitive implications of the Mandatory Offer of

Compensation Rule, NAR's rules also forbid buyer brokers from making home purchase

offers that hinge on reducing the buyer broker's commission.

        15.    The conspiracy has led to various illogical, harmful, and anticompetitive

effects, including: (a) requiring sellers to pay overcharges for services provided by buyer

brokers to the buyer;(b) maintaining, fixing, and stabilizing buyer broker compensation at

levels that would not exist in a competitive market; and (c) promoting steering and actions

that hinder innovation and entry by new,lower-cost real estate brokerage service providers.

        16.    In competitive overseas markets, when homebuyers opt to use a broker,they

personally cover the cost, which is less than half of what American buyer brokers receive.

       17.     As a result, Defendants' conspiracy has inflated and stabilized buyer broker

commissions, resulting in higher total commissions paid by home sellers like Plaintiff and

Class members. Plaintiff and Class members have each incurred, on average, thousands of

dollars in overcharges and damages due to Defendants' alleged conspiracy.

       F.      Defendants' Alleged Roles
        18.    Defendants leverage their control over MLSs, their agreements with local

franchisees and agents, their employee policies, and their active roles within NAR and local

realtor associations to compel local residential real estate brokers to comply with NAR's

regulations, including the Mandatory Offer of Compensation Rule.

        19.    Defendants also play a part in implementing the conspiracy by reviewing

NAR's Rules and consenting to them at annual meetings, and NAR perpetuates the

conspiracy by periodically reissuing its Rules, which include the Mandatory Offer of

Compensation Rule. Additionally, Defendants are involved in the conspiracy by serving on

boards and committees that oversee compliance with NAR Rules.

       20.     Plaintiff, on behalf of themselves and the Class, bring this lawsuit against

Defendants for alleged violations offederal and state antitrust laws, seeking treble damages,

injunctive relief, and the costs of this lawsuit, including reasonable attorneys' fees.

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                                  JURISDICTION AND VENUE
         21.         This Court has subject matter jurisdiction under 28 U.S.C. §1332(d)(2),

 because the Class defined herein contains more than 100 persons, the aggregate amount in

 controversy exceeds $5,000,000, and at least one member of the Class is a citizen of a State

 different from Defendants. Subject matter jurisdiction over this action also exists under 15

 U.S.C. § 4 and under 28 U.S.C. §§ 1331, 1337.

         22.         This Court has personal jurisdiction over Defendants. They have: (1)

 transacted substantial business in the United States, including in this District;(2)transacted

 business with members of the Class throughout the United States, including in this District;

(3) had substantial contacts with the United States, including in this District; and (4)

 committed substantial acts in furtherance of their unlawful scheme in the United States,

 including in this District.

         23.         Each Defendant has received revenue attributable to business transacted in

 Nevada and in this District from the brokerage operations of their respective subsidiaries,

franchisees, affiliates, and/or transaction counterparts that transact business in Nevada and

 in this District.

         24.         Venue is proper in this District under 15 U.S.C. § 22 and under 28 U.S.C.

§1391 because Defendants do substantial business in this District, have intentionally availed

 themselves of the laws and markets within this District, a substantial part of the events

 giving rise to Plaintiff's claims arose in this District, and a substantial portion ofthe affected

 interstate trade and commerce described herein has been carried out in this District.

         25.         The Mandatory Offer of Compensation Rule and other anticompetitive rules

 promulgated by NAR have been extended and enforced by Defendants and their co-

conspirators in interstate commerce, including this District. These rules govern local NAR

associations, local brokers, and local sales agents across the entire nation. Defendants'

conduct, as alleged, has led to the inflation of buyer broker commissions nationwide,

causing harm to home sellers in numerous regions. Through Defendants, other NAR

 members, and additional co-conspirators, NAR conducts business in interstate commerce,

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 1   engaging in activities that substantially impact interstate trade within the United States.

 2                                            PARTIES
 3           A.      Plaintiff
 4           26.     Plaintiff Angela Boykin is a resident of Minnesota. In April 2022, Plaintiff

 5   sold her Las Vegas, Nevada property. Plaintiff used ERA Brokers Consolidated as the

 6   listing agent, and Realty One Group, Inc. was the selling agent. Plaintiff paid a $13,125.00

 7   commission to the listing agent, or 2.5% of the sale price, and a $13,125.00 commission to

 8   the buyer's agent, or 2.5% ofthe sale price, for a grand total of $26,250.00.

 9           B.      Defendants
10           27.     National Association of Realtors ("NAR"), is a lobbying group that

11   advocates for the interests of real estate brokers, has over 1.5 million individual members

12   from whom it has collected hundreds of millions of dollars in dues and membership fees,

13   including millions of dollars in dues and membership fees from NAR members located in

14   this District. NAR oversees state and territorial realtor associations as well as over 1,200

15   local realtor associations. NAR is headquartered in Chicago, Illinois.

16   Broker Defendants

17           28.     UMRO Realty Corp. d/b/a The Agency, is globally recognized boutique real
18   estate brokerage. The Agency is a Delaware company with its headquarters in Beverly Hills,
19   California. The Agency conducts significant business throughout the United States and has
20   at least one office in this District.
21           29.     Chase International Real Estate ("Chase International") is an independent,
22   privately owned real estate firm with its headquarters in Zephyr Cove, Nevada. Chase
23   International transacts significant business in this District, and serves its community with

24   offices in Zephyr Cove, Glenbrook, Incline Village, South Lake Tahoe, Tahoe City, Squaw
25   Valley, Truckee, Reno, Sparks, and Carson Valley.
26           30.     Dickson Realty is a privately held, full-service real estate brokerage serving
27   Northern Nevada and Lake Tahoe since 1973. Dickson is a Nevada corporation with its
28   headquarters in Reno, Nevada. Dickson has conducts significant business in Nevada and

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 1    has multiple offices in this District.

 2            31.     Compass, Inc. is a publicly traded company incorporated in Delaware with
 3    its principal place of business in New York. Compass states that is the largest independent

      real estate brokerage by gross transaction value. Compass transacts significant business
 5    throughout the United States and has at least one office in this District.

 6            32.     eXp World Holdings, Inc. is a publicly traded company incorporated in
 7    Delaware with its principal place of business in Bellingham, Washington. Upon information

 8    and belief, eXp offers its real estate brokerage services in this District through its
 9    subsidiaries The Real Estate Guy and Craig Team Realty. eXp has brokerages throughout

10    the United States and at least one office in this District. eXp transacts significant business
11    throughout the United States and has at least one office in this District.
12            33.     The Real Estate Guy is a Delaware corporation with its principal place of
1.3   business in Las Vegas, Nevada. The Real Estate Guy transacts significant business in this
14    District.
15            34.     BEM Affiliates, LLC, operates as Berkshire Hathaway Home Services and
16    is a Delaware corporation with headquarters in Irvine, California. BFIHS transacts
17    significant business throughout the United States and this District.
18            35.     Douglas Elliman Inc. is a publicly traded Delaware corporation with
19    headquarters in Miami, Florida. DEI transacts significant business throughout the United
20    States and this District.
21           36.     Douglas Elliman Realty, LLC is headquartered in New York, New York.
22    Upon information and belief, DER is a wholly owned subsidiary of DEI, and is the largest
23    subsidiary owned by DEI. DEI transacts significant business throughout the United States
24    and this District, and maintains at least two offices in Nevada.
25           37.     HomeSmart International LLC is an Arizona corporation headquartered in
26    Scottsdale, Arizona. HomeSmart International LLC transacts significant business
27    throughout the United States and this District. HomeSmart has at least two offices in Las
28    Vegas, Nevada.

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 1          38.       Craig Tann, LTD d/b/a Huntington & Ellis A Real Estate Agency is a

 2   Nevada corporation headquartered in Las Vegas. Huntington & Ellis states that they have

 3   over $2 billion in residential sales over the past three years and transact significant business

 4   throughout Nevada and this District.

 5          39.       Realty One Group,Inc. is a Nevada corporation headquartered in Las Vegas.

 6   Realty One transacts significant business throughout Nevada and this District. Realty One

 7   has several offices in this District and throughout Nevada.

 8          40.       Realty One Group Eminence is headquartered in Reno, Nevada and operated
 9   by Ryan Borden. Realty One Group Eminence has offices in Reno and Carson City, Nevada
10   and states that it is the "fastest growing real estate company in Northern Nevada" and

11   transacts significant business throughout the state of Nevada.

12          41.       Redfin Corporation is a publicly traded company headquartered in Seattle,
13   Washington. Redfin states that its website and mobile applications reach over 51 million
14   users. Redfin transacts significant business throughout the United States and this District,
15   and maintains offices throughout Nevada.
16          42.       Urban Nest Realty is a residential real estate brokerage with offices in
17   Henderson, Nevada and Las Vegas, Nevada. Urban Nest transacts significant business
18   throughout Nevada and in this District.
19   Regional Association and MLS Defendants
20          43.       Nevada Realtors is headquartered in Reno, Nevada and serves realtors
21   throughout the state of Nevada. Nevada Realtors is an NAR affiliate.
22          44.       Greater Las Vegas Association of Realtors ("Greater Las Vegas AOR")is
23   headquartered in Las Vegas, Nevada and serves realtors throughout Southern Nevada.
24   Greater Las Vegas AOR states that it is the largest realtor association in Nevada and one of
25   the top ten largest realtor associations in the United States. Greater Las Vegas AOR is an
26   NAR affiliate.
27          45.       Elko County Realtors ("Elko AOR")is headquartered in Elko, Nevada and
28   serves realtors throughout the Elko area. Elko AOR is an NAR affiliate. Upon information

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 1    and belief, Elko AOR also owns and operates Elko County Multiple Listing Service ("Elko

 2    MLS").2

 3            46.   Incline Village Realtors, Inc. ("Incline AOR") is headquartered in Incline

 4    Village, Nevada and serves realtors throughout the Incline Village area. Incline AOR is an

      NAR affiliate. Upon information and belief, Incline AOR also owns and operates Incline

      Village Multiple Listing Service ("Incline MLS").3

 7            47.   Sierra Nevada Realtors ("Sierra AOR") is headquartered in Carson City,
 8    Nevada and serves realtors throughout the surrounding area. Sierra AOR is an NAR
 9    affiliate.
10            48.   Greater Las Vegas Association of Realtors Multiple Listing Service, Inc.
11   ("GLVA MLS")is headquartered in Las Vegas, Nevada. GVLA MLS states that it serves
12    the Southern Nevada area. Based on information and belief, GLVA MLS is a wholly owned
13    subsidiary of Greater Las Vegas AOR.4
14            49.   Northern Nevada Regional Multiple Listing Service, Inc.("NNR MLS") is
15    headquartered in Reno, Nevada. NNR MLS states that it serves the Reno Sparks, Carson
16    City, Fernley, Fallon, Yerington, Minden, Gardnerville, East Lake Tahoe, and Topaz areas.
17            50.   Mesquite Real Estate Association, Inc., A Nevada Non-Profit Corporation,
18   ("Mesquite MLS")is headquartered in Mesquite, Nevada, and serves the surrounding area.
19   The Mesquite MLS's mission is to operate a multiple listing service for the Greater
20    Mesquite Nevada area, and to ensure compliance with MMLS policies, rules and regulations
21    while holding our members accountable to upholding the highest professional standards and
22   ethical conduct as mandated by NAR's Code of Ethics.5
23   ///
24   ///
25

26   2 See https://www.elkorealtors.com/search/(last visited Feb. 14, 2024).
     3 See https://inclinevillagerealtors.com/ivr-mls-search/(last visited Feb.14, 2024).
27
     4 See https://members.lasvegasrealtor.com/m1s/pdf/MLS-Rules-And-Regulations.pdf (last vi      •ed
28   Feb. 14, 2024).
     5 See https://www.mreaonline.com (last visited Feb. 14, 2024).

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 1                                              FACTS

 2           A.      Real Estate Market in Nevada
 3           51.     Most states, including Nevada, have licensing laws that regulate who can

 4   represent buyers and sellers in real estate transactions. In 2022, approximately 86% of home

 5   sellers and buyers in the United States utilized the services of real estate brokers.6 These

 6   regulations classify real estate professionals into two primary categories: (1) real estate

 7   brokers, often referred to as "brokerage firms," and (2) individual real estate licensees or

 8   agents. These brokers license and assume legal responsibility for the actions of individual

 9   real estate realtors or agents.

10           52.     In Nevada, only licensed brokers are authorized to receive compensation for

11   representing home buyers or sellers in real estate transactions. Consequently, all real estate

12   brokerage contracts must be established with brokers, not agents, and payments to

13   individual agents or realtors are routed through brokers. Many brokers, along with their

14   respective agents, often operate in dual roles, acting as seller brokers for some property

15   sales and as buyer brokers for others.

16           53.    In standard residential real estate transactions, brokers and agents receive

17   compensation in the form of commissions, calculated as a percentage ofthe property's sale

18   price, with the payment being realized upon the sale's completion.

19          54.     Compensation for seller brokers is stipulated in a listing agreement, a

20   contract signed between the seller and the seller broker. This agreement outlines the listing

21   terms and often grants the seller broker exclusive marketing rights to the property. The

22   listing agreement also specifies the total commission to be paid by the seller.

23          55.      When a buyer engages a broker's services, they typically enter into a contract

24   with that broker. If a buyer retains a broker, the seller remits the buyer broker's

25   compensation. Historically, NAR's Code of Ethics espoused a conduct standard that falsely

26   suggested to buyers that their agent's services are provided at no cost.

27
     6See https://www.narrealtor/research-and-statistics/quick-real-estate-statistics (last visited
28   Feb. 14, 2024).

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 1           56.     The net effect of these agreements and the Mandatory Offer of

 2   Compensation Rule is that buyer brokers, who are tasked with representing the buyers'

 3   interests against the sellers, receive their compensation from the overall commission paid

     by the seller, not from the buyers they represent. This has led to significant confusion

     regarding the functioning of commissions within the real estate market such that many

 6   sellers do not understand how and why they are paying the buyer's agent a 3% commission.

 7          57.      Without the Mandatory Offer of Compensation Rule and in a competitive

 8   market context (where sellers have no incentive to compensate a buyer broker who works

 9   against their interests), buyers would directly pay their brokers. Sellers, in turn, would

10   exclusively pay a commission to their seller broker. Consequently, the seller's total broker

11   commission would amount to approximately half or less of the customary commission paid

12   to remunerate both their seller broker and the buyer's broker, who is advocating for the

13   buyer's interests.

14          B.      Role of Multiple Listing Services(MLSs)and the Mandatory Offer of
                    Compensation Rule
15

16          58.     MLSs serve as central repositories for available properties within specific

17   geographic areas, offering access to real estate brokers and their affiliated realtors or agents

18   who adhere to MLS regulations. Many MLSs are owned and managed by local realtor

19   associations, which are members of NAR.

20          59.     Several MLSs exist in Nevada,7 many of which have the same Mandatory

21   Offer of Compensation Rule set forth by NAR.

22          60.     For example, GLV MLS effectively adopts NAR's Mandatory Offer of

23   Compensation Rule vis-à-vis Section 8, which states that: "In filing a property with the

24   Multiple Listing Service of an Association of REALTORS® the Participant of the Service

25   is making blanket unilateral offers of compensation to the other MLS Participants, and shall

26   therefore specify, on each listing filed with the Service, the compensation being offered to

27
     7 See https://idxbroker.com/idx_mls_coverage.php (last visited Feb. 14, 2024).
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 1   the other MLS Participants."89

 2           61.     GLV MLS further states that "[a] Multiple Listing Service is a means by

 3   which authorized Participants make blanket unilateral offers of compensation to other

 4   Participants[.]"I°

 5           62.     NAR regulations mandate that seller brokers must list their clients'

 6   properties on an MLS. Notably, the failure to list a client's property on an MLS results in

 7   diminished visibility for that property, as it is less likely to be presented to potential buyers

 8   by buyer brokers.

            63.      The Mandatory Offer of Compensation Rule imposes an obligation on seller

10   brokers, acting on behalf oftheir clients, to make a comprehensive, non-negotiable offer of

11   compensation to buyer brokers whenever they list a property on an MLS affiliated with a

12   local NAR association. In the event that a buyer, who is represented by a broker, ultimately

13   purchases the property, the buyer broker is entitled to the offered compensation.

14           C.      Anticompetitive NAR Rules
15          64.      NAR introduced the Mandatory Offer of Compensation Rule in 1996,

16   incorporating it into the Handbook on Multiple Listing Policy. This rule has remained in

17   effect since its inception.

18          65.      Before the adoption ofthe Mandatory Offer of Compensation Rule in 1996,

19   upon information and belief, NAR played a central role in structuring, implementing, and

20   enforcing a similar and equally flawed market structure. Under this system of sub-agency,

21   brokers representing buyers were legally obligated to act in the interest ofsellers, even when

22   primarily working with buyers. As a result, the practice of sellers compensating both their

23   selling broker and the buyer's broker persisted.

24   8 See https://members.lasvegasrealtor.com/m1s/pdf/MLS-Rules-And-Regulations.pdf (last
     visited Feb. 14, 2024).
25
     9 As of January 3, 2024, the GVL MLS and Greater Las Vegas AOR have amended

26   Section 8, the analog Mandatory Offer of Compensation Rule. See
     https://members.lasvegasrealtor.com/news/article/m1s-rules-and-regulations-update (last
27   visited Feb. 14, 2024).
     10 Id.

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 1          66.     The inefficiency and confusion inherent in this sub-agency system ultimately

 2   led to its collapse when widely exposed in the media.

 3          67.     Following the collapse of the sub-agency system, NAR and its co-

 4   conspirators devised and enforced an anticompetitive scheme aimed at perpetuating supra-

 5   competitive commissions, impeding innovation, and hindering lower-priced competition.

 6   This was accomplished through the Mandatory Offer of Compensation Rule, officially

 7   adopted in November 1996.

 8          68.     NAR's Board of Directors and associated committees periodically evaluate

 9   and revise the policies in the Handbook. The Mandatory Offer of Compensation Rule has

10   been retained despite criticism from economists and industry experts, who argue that the

11   rule contributes to anticompetitive market conditions and inflated commission rates.

12          69.     Defendants have actively participated in this anticompetitive scheme by

13   agreeing to follow, promote, and implement the Mandatory Offer of Compensation Rule.

14   These actions have established an environment that perpetuates high commissions and

15   restricts market competition. Indeed, in the Inman Survey (2014), 56% of agents reported

16   that their brokerages require a minimum total commission level to list homes for sellers and

17   brokerages specify a minimum commission rate that must be offered to buyer agents when

18   the brokerages represent the seller.

19          70.     Furthermore, NAR has invited Defendants and other co-conspirators to join

20   an agreement, whereby participation in the MLS system is contingent upon compliance with

21   anticompetitive restraints set forth in the Handbook. Regardless of their initial involvement

22   in drafting or adopting the Mandatory Offer of Compensation Rule, Defendants have since

23   joined the conspiracy and committed to upholding and enforcing the rule.

24          71.     The Handbook explicitly states the Mandatory Offer of Compensation Rule,

25   requiring participants to make unilateral compensation offers when filing properties with

26   an MLS. The Handbook also stipulates that MLSs should not publish listings that do not

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 1   include compensation offers or invitations for participants to discuss cooperative

 2   relationships.

 3          72.       The Mandatory Offer of Compensation Rule transfers a cost that would

 4   ordinarily be paid by the buyer, in a competitive market, to the seller. Home sellers

 5   effectively become obligated to hire a buyer broker if they want to list their property on an

 6   MLS. The system violates antitrust laws by keeping buying agents compensated despite

 7   offering limited services. Indeed, in the age of the internet where a buyer is able to search

 8   and locate their next house on their computer or smartphone without the assistance of a real

 9   estate agent—and they often do just that a competitive market should have forced lower

10   buyer broker commissions as a reflection of the decreasing need for their services.

11          73.       In their efforts to steer clients towards homes offering higher commissions,

12   buyer brokers utilize the offered compensation amounts. This steering practice is confirmed

13   by economic literature and has clear anticompetitive effects, making it difficult for brokers

14   to compete based solely on the services they provide to clients.

15          74.       Defendants and other co-conspirators also employ technology to facilitate

16   steering based on MLS commission information.

17          D.        Defendants' Participation in the Conspiracy
18          75.       Defendants, in collaboration with NAR, have actively supported,

19   implemented,and enforced the Mandatory Offer of Compensation Rule. They have required

20   their franchisees, brokers, agents, and employees to comply with NAR rules, including the

21   Mandatory Offer of Compensation Rule.

22          76.       Therefore, Defendants and their franchisees, along with their agents, have

23   furthered the conspiracy by agreeing to implement, follow, and enforce NAR's rules,

24   including the Mandatory Offer of Compensation Rule.

25          E.        Effects of the Conspiracy
26          77.       The conspiracy led by Defendants and NAR has had several anticompetitive

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 1    effects in Nevada, including:

 2       • Inflated Costs and Compelled High Commissions for Home Sellers: The
           Defendants' conspiracy in Nevada has resulted in inflated costs for home sellers.
 3         They are compelled to pay commissions to buyer brokers who, paradoxically,
           represent their adversaries in property negotiations. This practice also compels home
 4         sellers to set high buyer broker commissions, which in turn diminishes their control
           over expenses and market competitiveness.
 5
         • Payment of Inflated Commissions and Price Competition Restraint: The
 6         conspiracy perpetuates the payment of inflated buyer broker commissions and total
           commissions by home sellers, reducing the financial benefit sellers derive from
 7         property transactions. This anticompetitive conduct significantly restrains price
           competition among brokers in Nevada. Both buyers seeking to retain broker services
 8         and sellers seeking to list their properties find their choices constrained by this
           manipulative environment.
 9
         • Separation of Buyer Broker Retention and Commission Setting: The conspiracy
10         has effectively separated the retention of buyer brokers from the setting of broker
           commissions. In this distorted system, the home buyer now directly retains the
11         services of a buyer broker, while the seller's agent determines the compensation for
           the buyer broker, exacerbating inefficiencies within the market.
12

13           78.    There are no pro-competitive effects stemming from the conspiracy, which

14   is unequivocally anticompetitive and detrimental to the competitive landscape. And any

15   alleged pro-competitive benefits within the MLS system do not justify the Mandatory Offer

16   of Compensation Rule, as they are substantially outweighed by its anticompetitive effects

17   including restraining price competition and encouraging steering.

18           79.    Comprehensive economic evidence supports the notion that the conspiracy

19   has resulted in inflated total commissions and buyer broker commissions paid by home

20   sellers, far exceeding what a competitive market would dictate.

21           80.    In comparison to other countries with competitive real estate markets,

22   commission rates in the United States are significantly higher, including in Nevada where

23   the average commission falls between 5-6%. This high commission rate prevails in the

24   face of the realities of modern home buying where many buyers find by themselves the

25   homes they ultimately purchase on the internet, a fact that should have radically driven

26

27   "See https://listwithclever.com/average-real-estate-commission-rateinevada/ (last visited
     Feb. 14, 2024).
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 1   down the cost of a buyer's agent's fee. Nonetheless, a large majority (73%) of agents say

 2   they will not negotiate their commissions, a stance that would be untenable in a competitive

 3   market.12

 4          F.      Defendants' Market Power in Relevant Nevada Counties
 5          81.     The relevant market for the claims herein is the bundle of services provided

 6   to home buyers and sellers by residential real estate brokers with access to MLSs.

 7   Defendants' control of MLSs allows them to impose anticompetitive NAR rules on Class

 8   members and other market participants.

 9          82.     The relevant geographic markets for the claims asserted herein are no

10   broader than the geographic areas within Nevada in which the Defendants operate. The vast

11   majority of homes sold in this county were listed on MLSs by brokers subject to NAR

12   regulations, including the Mandatory Offer of Compensation Rule or its functional

13   equivalent.

14          83.     Defendants and their co-conspirators collectively possess significant market

15   power within each relevant market. Their influence is achieved through their participation

16   and control over local MLSs and their substantial share of the local market.

17          84.     Non-conspiring brokers who aim to compete outside the conspiracy face

18   insurmountable barriers:

19      • Access to MLSs is essential for brokers to effectively serve buyers and sellers in the
          market.
20
        • An alternative listing service aiming to compete with an MLS would require listings
21        that are as comprehensive as an MLS, but brokers within the conspiracy lack the
          incentive to participate in such a service.
22
        • Home buyers and sellers would be reluctant to utilize a new alternative listing
23        service without a proven track record.
24      • NAR advises MLSs to enter into non-compete agreements with third-party websites.
25

26

27   12See https://wwvv.cnbc.com/2019/10/30/realtor-commissions-are-not-negotiable.html (last
     visited Feb. 14, 2024).
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 1            G.    Continuous Accrual

 2            85.   Over the course of the last four years leading up to the filing of this

 3   Complaint, Defendants, in collaboration with brokers operating within MLS-covered

 4   regions, systematically applied and received buyer broker commissions and total

 5   commissions at inflated rates, all due to their ongoing conspiracy. During this timeframe,

6    Plaintiff and other members of the Class were obliged to remit these inflated commissions

     in conjunction with the sale of residential real estate listed on MLSs. Each such payment

 8   over the past four years resulted in harm to Plaintiff and their fellow Class members, giving

 9   rise to new causes of action stemming from these injuries.

10            86.   Throughout the preceding four years, Defendants, alongside their co-

11   conspirators, have consistently upheld, executed, and enforced the Mandatory Offer of

12   Compensation Rule and various other anticompetitive NAR directives on a nationwide

13   scale.

14                              CLASS ACTION ALLEGATIONS

15            87.   Plaintiff Boykin brings this action on behalf of herself, and as a class action

16   under Federal Rule of Civil Procedure 23(a) and (b)(3), on behalf of the members of the

17   Class defined as:

18                  All persons in Nevada who used any Defendant or their
                    affiliates as the listing broker in the sale of a property listed
19                  on an MLS, and who paid a commission to the buyer's
                    broker in connection with the sale of the property within the
20                  last four years.

21
              88.   Excluded from the Class are Defendants, their officers, directors and
22
     employees; any entity in which Defendant has a controlling interest; and any affiliate, legal
23
     representative,heir or assign ofany Defendant. Also excluded from the Class are any judicial
24
     officer(s) presiding over this action and the members of his/her/their immediate family and
25
     judicial staff,jurors, and Plaintiffs counsel and employees of their law firms.
26
              89.   The Class is readily ascertainable because records of the relevant
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transactions exist.

       90.     Class members are so numerous that individual joinder of all its members is

impracticable. Due to the nature ofthe trade and commerce involved, Plaintiff believes that

the Class has many thousands of members, the exact number and their identities being

known to Defendants and their co-conspirators.

       91.     Plaintiff will fairly and adequately protect the interests of the members of

the Class. Plaintiff's interests are aligned with, and not antagonistic to, those of the other

members of the Class.

       92.     Common questions of law and fact exist as to all members of the Class and

predominate over any question affecting only individual Class members. These common

legal and factual questions, each of which also may be certified under Rule 23(c)(4), include

but are not limited to the following:

               a.       Whether Defendants engaged in the alleged conspiracy;

               b.       Whether the conduct of Defendants' and their co-conspirators

                        caused injury to the business or property of Plaintiff and the other

                        members of the Classes;

               c.       Whether the effect of Defendants' conspiracy was to inflate

                        both total commissions and buyer broker commissions;

               d.       Whether the competitive harm from the conspiracy substantially

                        outweighs any competitive benefits;

               e.       Whether Defendants' conduct is unlawful; and

               f.       The appropriate class-wide measures of damages.

       93.     Plaintiff's claims are typical ofthe claims ofthe members ofthe Class because

her claims arise from the same course ofconduct by Defendants and the relief sought within

the Class is common to each member.

       94.     Plaintiff has retained counsel competent and experienced in the prosecution

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 1   of antitrust class action litigation to represent themselves and the Classes. Together Plaintiff

 2   and her counsel intend to prosecute this action vigorously for the benefit ofthe Classes. The

 3   interests of Class members will be fairly and adequately protected by Plaintiff and her

 4   counsel.

 5          95.     A class action is superior to other available methods for the fair and efficient

 6   adjudication ofthis controversy. The prosecution ofseparate actions by individual members

 7   ofthe Class would impose heavy burdens on the Court and Defendants, and would create a

 8   risk of inconsistent or varying adjudications ofthe questions of law and fact common to the

 9   Class. A class action, on the other hand, would achieve substantial economies oftime, effort,

10   and expense, and would assure uniformity ofdecision as to persons similarly situated without

11   sacrificing procedural fairness or bringing about other undesirable results. Absent a class

12   action, it would not be feasible for the members ofthe Class to seek redress for the violations

13   of law alleged herein.

14          96.     Additionally, the Class may be certified under Rule 23(b)(1) and/or(b)(2)

15   because:

16                  g.        The prosecution of separate actions by individual Class members

17                            would create a risk of inconsistent or varying adjudications with

18                            respect to individual Class members that would establish

19                            incompatible standards of conduct for Defendants;

20                  h.        The prosecution of separate actions by individual Class members

21                            would create a risk of adjudications with respect to them which

22                            would, as a practical matter, be diapositive of the interests of other

23                            Class members not parties to the adjudication,or substantially impair

24                            or impede their ability to protect their interests; and/or

25                  i.        Defendants have acted or refused to act on grounds generally

26                            applicable to the Class, thereby making appropriate final and

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 1                  J.     injunctive relief with respect to the Class members as a whole.

 2                                      ANTITRUST INJURY
 3          97.     Defendants' anticompetitive agreements and conduct have had the

 4   following effects, among others:

 5                  k.     Sellers of residential property have been forced to pay inflated costs

 6                         to sell their homes through forced payments ofcommissions to buyer

 7                         brokers;

 8                  1.     Home sellers have been faced with the fear of steering, such that they

 9                         set buyer broker commissions to induce buyer brokers to show the

10                         sellers' homes to prospective buyers;

11                  m.     Price competition has been restrained among brokers seeking to be

12                         retained by home buyers, and by brokers seeking to represent home

13                         sellers; and

14                  n.     Defendants and their franchisees and subsidiaries have inflated their

15                         profits by a significant margin by the increased total commissions

16                         and increased buyer broker commissions.

17          98.     By reason of the alleged violations of the antitrust laws, Plaintiff and the

18   Class have sustained injury to their businesses or property, having paid higher total

19   commissions than they would have paid in the absence of Defendants' anticompetitive

20   conspiracy, and as a result have suffered damages.

21          99.    There are no pro-competitive effects of Defendants' conspiracy that are not

22   substantially outweighed by the conspiracy's anticompetitive effects.

23          100.    Significant economic evidence supports concluding that Defendants'

24   conspiracy has resulted in Class members paying buyer broker commissions and total

25   commissions that have been inflated to a supra-competitive level.

26   ///

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 1          101.    This is an antitrust injury of the type that the antitrust laws were meant to

 2   punish and prevent.

 3                                    CAUSES OF ACTION
 4                                           COUNT 1
                     Violation of Section 1 of the Sherman Act, 15 U.S.C.§ 1
 5

 6          102.    Plaintiff repeats and incorporates by reference each paragraph above and in

 7   any other count of this Complaint.

 8          103.    Plaintiff Angela Boykin brings this action on behalf of herself and the Class.

 9          104.    Beginning more than four years before the filing of this Complaint, and

10   continuing into the present, Defendants engaged in a continuing contract, combination, or

11   conspiracy to unreasonably restrain interstate trade and commerce in violation of Section 1

12   ofthe Sherman Act, 15 U.S.0 § 1.

13          105.    The conspiracy alleged herein consists of a continuing agreement among
14   Defendants and Defendants' co-conspirators to require sellers of residential property to
15   make inflated payments to the buyer broker.
16          106.   In furtherance of the contract, combination, or conspiracy, Defendants and
17   their co-conspirators have committed one or more of the following overt acts:
18                 o.      Participated in the creation, maintenance, re-publication, and
19                         implementation of the Mandatory Offer of Compensation Rule and
20                         other anticompetitive NAR rules;
21                 p.      Participated in the establishment, maintenance, and implementation
22                         of rules by local NAR associations and MLSs that implemented the
23                         Mandatory Offer of Compensation Rule and other anticompetitive
24                         NAR rules; and
25                 q.      Requiring franchisees of Defendants and others to implement the
26                         Mandatory Offer of Compensation Rule and other anticompetitive
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 1                       r.      NAR rules, which each Defendant does through its franchise

 2                               agreements, policy manuals, and other contracts with its franchisees,

 3                               affiliates, subsidiaries, and realtors.

 4               107.    Defendants' conspiracy has required sellers to pay buyer brokers, to pay an

 5   inflated buyer broker commission and an inflated total commission, and it has restrained

 6   price competition among buyer brokers. This harm to competition substantially outweighs

 7   any competitive benefits arising from the conspiracy.

 8               108.    Defendants' conspiracy has caused buyer broker commissions and total

 9   commissions to be inflated. Plaintiff and the other members of the Class paid these inflated

10   commissions during(and before)the last four years in connection with the sale ofresidential

11   real estate. Absent Defendants' conspiracy, Plaintiff and the other Class members would

12   have paid substantially lower commissions because the broker representing the buyer of

13   their homes would have been paid by the buyer.

14               109.    Defendants' conspiracy is aper se violation under the federal antitrust laws,
15   specifically 15 U.S.C. § 1.
16               1 10.   In the alternative, Defendants' conspiracy is illegal under the federal antitrust
17   laws and violates 15 U.S.C. § 1 under a rule-of-reason analysis.
18               1 11.   As a direct and proximate result ofDefendants' past and continuing violation
19   of Section 1 of the Sherman Act, 15 U.S.C. § 1, Plaintiff and the other Class members have
20   been injured in their business and property and suffered damages in an amount to be proven
21   at trial.
22
                                           COUNT 2
23       Violation of the Section 598A.060(2) of the Nevada Unfair Trade Practices Act

24               1 12.   Plaintiff repeats and incorporates by reference each paragraph above and in
25   any other count of this Complaint.
26               1 13.   Plaintiff Angela Boykin brings this action on behalf of herself and the Class.
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 1          114.    Plaintiff, the members of the Class, and Defendant are a "person" or

 2   "persons," within the meaning of Section 598A.060(2)ofthe Nevada Unfair Trade Practices

 3   Act("UTPA").

 4          1 15.   Defendants have engaged in unfair trade practices within the meaning ofthe

 5   UTPA because Defendants engaged in a conspiracy by which they agreed to require sellers

 6   to pay inflated prices to the buyer broker, thereby agreeing to establish prices for

 7   commodities or services in violation of the UTPA. Defendants have further engaged in

 8   unfair trade practices within the meaning of the UTPA because Defendants' conduct, as

 9   described herein, violated the Sherman Antitrust Act.

10          1 16.   As described in this Complaint, beginning more than four years before the

11   filing of this Complaint, and continuing into the present, Defendants engaged in a

12   continuing contract, combination, or conspiracy to unreasonably restrain trade and

13   commerce by requiring sellers of residential property to make inflated payments to the

14   buyer broker. Defendants' conduct thereby violates Section 598A.060(2) of the Nevada

15   UTPA which makes it unlawful to agree to establish prices for commodities or services.

16          1 17.   The conspiracy alleged herein consists of a continuing agreement among

17   Defendants and Defendants' co-conspirators to require sellers of residential property to

18   make inflated payments to the buyer broker.

19          1 18.   In furtherance of the contract, combination, or conspiracy, Defendants and

20   their co-conspirators have committed one or more of the following overt acts:

21              a. Participated   in   the   creation,   maintenance,   re-publications,   and

22                  implementation of the Mandatory Offer Compensation Rule and other

23                  anticompetitive NAR rules;

24              b. Participated in the establishment, maintenance, and implementation of rules

25                  by local NAR associations and MLSs that implemented the Mandatory Offer

26                  of Compensation Rule and other anticompetitive NAR rules; and

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 1                   c. Requiring franchisees ofDefendants and others to implement the Mandatory

 2                       Offer of Compensation Rule and other anticompetitive NAR rules, which

 3                       each Defendant does through its franchise agreements, policy manuals, and

 4                       other contracts with its franchisees, affiliates, subsidiaries, and realtors.

 5               1 19.   Defendants' conspiracy has caused buyer broker commissions and total

 6   commissions to be inflated. Plaintiff and other members of the Class paid these inflated

 7   commissions during(and before)the last four years in connection with the sale ofresidential

 8   real estate. Absent Defendants' conspiracy, Plaintiff and other Class members would have

 9   paid substantially lower commissions because the broker representing the buyer of their

10   homes would have been paid by the buyer.

11               120.    Defendants' conspiracy is a per se violation of the Section 598A.060(2) of

12   the UTPA because Defendants conspired to agree to certain regulations that established

13   prices for broker services.

14               121.    In the alternative, Defendants' conspiracy is illegal under Section

15   598A.060(2) of the UTPA because it is illegal under the federal antitrust laws and violates

16   15 U.S.C. § 1 under a rule of reason analysis.

17               122.    As a direct and proximate result of Defendants' past and continuing

18   violation of Section 598A.060(2) of the UTPA, Plaintiff and other Class members have

19   been injured in their business and property and suffered damages in an amount to be proven

20   at trial.

21                                          COUNT 3
          Violation of Section 598.0923(c) of the Nevada Deceptive Trade Practices Act
22

23               123.    Plaintiff repeats and incorporates by reference each paragraph above and in

24   any other count of this Complaint.

25               124.    Plaintiff Angela Boykin brings this action on behalf herself and the Class.

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 1           125.    Defendants violated Section 598.0923(c) of the Nevada Deceptive Trade

 2   Practices Act ("DTPA") which makes it unlawful to knowingly violate a state or federal

 3   statute or regulation relating to the sale or lease of goods or services.

 4           126.   Defendants knowingly violated the Sherman Act by engaging in an ongoing

 5   contract, combination, or conspiracy to unreasonably restrain trade and commerce in

 6   violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

 7           127.   Defendants knowingly violated the UTPA by engaging in unfair trade
 8   practices within the meaning of the UTPA because Defendants engaged in a conspiracy by
 9   which they agreed to require sellers to pay inflated prices to the buyer broker, thereby
10   agreeing to establish prices for commodities or services in violation of the UTPA.
11   Defendants have further engaged in unfair trade practices within the meaning of the UTPA
12   because Defendants' conduct, as described herein, violated the Sherman Antitrust Act.
13           128.   Beginning more than four years before the filing of this Complaint, and
14   continuing into the present, Defendants engaged in a continuing contract, combination, or
15   conspiracy to unreasonably restrain trade and commerce in violation of Section 1 of the
16   Sheiman Act, 15 U.S.C. § 1 and, therefore, Section 598A.060(2) of the Nevada UPTA.
17          129.    The conspiracy alleged herein consists of a continuing agreement among
18   Defendants and Defendants' co-conspirators to require sellers of residential property to
19   make inflated payments to the buyer broker.
20          130.    In furtherance of the contract, combination, or conspiracy, Defendants and
21   their co-conspirators have committed one or more of the following overt acts:
22              a. Participated     in   the   creation,    maintenance,     re-publications,   and

23                  implementation of the Mandatory Offer Compensation Rule and other
24                  anticompetitive NAR rules;
25              b. Participated in the establishment, maintenance, and implementation of rules
26                  by local NAR associations and MLSs that implemented the Mandatory Offer
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 1                      of Compensation Rule and other anticompetitive NAR rules; and

 2                c. Requiring franchisees of Defendants and others to implement the Mandatory

 3                      Offer of Compensation Rule and other anticompetitive NAR rules, which

 4                      each Defendant does through its franchise agreements, policy manuals, and

                        other contracts with its franchisees, affiliates, subsidiaries, and realtors.

              131.      Defendants' conspiracy has caused buyer broker commissions and total

 7   commissions to be inflated. Plaintiff and other members of the Class paid these inflated

 8   commissions during(and before)the last four years in connection with the sale of residential

 9   real estate. Absent Defendants' conspiracy, Plaintiff and other Class members would have

10   paid substantially lower commissions because the broker representing the buyer of their

11   homes would have been paid by the buyer.

12            132.      Defendants' conspiracy is a per se violation of the Section 598A.060(2) of

13   the UTPA because Defendants conspired to agree to certain regulations that established

14   prices for broker services, and because it is a per se violation under the federal antitrust

15   laws, specifically 15 U.S.C. § 1.

16            1 33.     In the alternative, Defendants' conspiracy is illegal under Section

17   598A.060(2) of the UTPA because it is illegal under the federal antitrust laws and violates

18   15 U.S.C. § 1 under a rule of reason analysis.

19            134.      As a direct and proximate result of Defendants' past and continuing

20   violation of Section 598.0923(c) of the Nevada DTPA, Plaintiff and other Class members

21   have been injured in their business and property and suffered damages in an amount to be

22   proven at trial.

23                                            JURY DEMAND
24           Plaintiff, on behalf of herself and all others similarly situated, hereby demands a

25   jury trial of all issues so triable.

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 1                                   PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated,

 3   request relief and pray for judgment against Defendants as follows:

 4          a.     An Order certifying the Class under the appropriate provisions ofRule 23 of

 5                 the Federal Rule of Civil Procedure, and appointing Plaintiff Boykin to

 6                 represent the Class, and her counsel to represent the Class;

 7          b.     Declarations that the actions of Defendants, as set forth above, are unlawful;

 8          c.     A permanent injunction under Section 16 of the Clayton Act enjoining

 9                 Defendants from (1) requiring that sellers pay the buyer broker, (2)

10                 continuing to restrict competition among buyer brokers and seller brokers,

11                 and (3)engaging in any conduct determined to be unlawful;

12          d.     Appropriate injunctive and equitable relief;

13          e.     An award to Plaintiff and the other members ofthe Class for damages and/or

14                 restitution in an amount to be determined at trial;

15          f.     An award of pre- and post-judgment interest to Plaintiff;

16          g.     An award to Plaintiff for their costs of suit, including reasonable attorneys'

17                 fees and expenses;

18          h.     An award of such other relief as the Court may deem just and proper.

19

20                                          Respectfully submitted,
                      /4"
21   DATED: February'', 2024                ALBRIG         STODDARD,WARNICK &
                                            ALBRI
22
                                            By:
23                                                           Alb ght

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27                                  Attorneysfor Plaintiffand the Proposed Class

28                                  29
        Case MDL No. 3100 Document 403-3 Filed 02/20/24 Page 30 of 33

                           United States District Court
                          District of Nevada (Las Vegas)
               CIVIL DOCKET FOR CASE #: 2:24−cv−00340−CDS−BNW

Boykin v. National Association of Realtors et al                 Date Filed: 02/16/2024
Assigned to: Judge Cristina D. Silva                             Jury Demand: Plaintiff
Referred to: Magistrate Judge Brenda Weksler                     Nature of Suit: 410 Anti−Trust
Cause: 28:1331 Fed. Question: Anti−trust                         Jurisdiction: Federal Question
Plaintiff
Angela Boykin                                      represented by Christopher J Schwegmann
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       Case MDL No. 3100 Document 403-3 Filed 02/20/24 Page 31 of 33

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                                                ATTORNEY TO BE NOTICED


V.
Defendant
National Association of Realtors

Defendant
UMRO Realty Corp.
doing business as
The Agency

Defendant
Chase International, Inc.
       Case MDL No. 3100 Document 403-3 Filed 02/20/24 Page 32 of 33

Defendant
Dickson Realty, Inc.

Defendant
Compass, Inc.

Defendant
eXp World Holdings, Inc.

Defendant
The Real Estate Guy Inc.

Defendant
BHH Affiliates, LLC

Defendant
Douglas Elliman Inc.

Defendant
HomeSmart International LLC

Defendant
Craig Tann LTD
doing business as
Huntington & Ellis A Real Estate Agency

Defendant
Realty One Group, Inc.

Defendant
Realty One Group Eminence

Defendant
Redfin Corporation

Defendant
Urban Nest Realty, LLC

Defendant
Nevada Realtors

Defendant
Greater Las Vegas Association of
Realtors

Defendant
Greater Las Vegas Association of
Realtors Multiple Listing Service, Inc.

Defendant
Elko County Realtors

Defendant
Incline Village Realtors, Inc.
       Case MDL No. 3100 Document 403-3 Filed 02/20/24 Page 33 of 33

Defendant
Sierra Nevada Realtors

Defendant
Northern Nevada Regional Multiple
Listing Service, Inc.

Defendant
Mesquite Real Estate Association, Inc.

Defendant
Douglas Elliman Realty, LLC


 Date Filed    #    Docket Text
 02/16/2024     1 COMPLAINT against All Defendants (Filing fee $405 receipt number
                  ANVDC−7590489) by Angela Boykin. Certificate of Interested Parties due by
                  2/26/2024. Proof of service due by 5/16/2024. (Attachments: # 1 Civil Cover Sheet)
                  (Albright, G.)

                    NOTICE of Certificate of Interested Parties requirement: Under Local Rule 7.1−1, a
                    party must immediately file its disclosure statement with its first appearance, pleading,
                    petition, motion, response, or other request addressed to the court. (Entered:
                    02/16/2024)
 02/16/2024         Case randomly assigned to Judge Cristina D. Silva and Magistrate Judge Brenda
                    Weksler. (CAH) (Entered: 02/20/2024)
 02/20/2024     2 NOTICE TO COUNSEL PURSUANT TO LOCAL RULE IA 11−2. Counsel
                  Christopher J Schwegmann, Blair E. Reed, David B. Urteago, Frederic S. Fox, Jeffrey
                  P. Campisi, Jessica Cox, Julie Pettit, Matthew B. George, Matthew P. McCahill,
                  Michael K. Hurst, and Yaman Desai to comply with completion and filing of the
                  Verified Petition and Designation of Local Counsel. The form is available on the
                  Court's website − www.nvd.uscourts.gov. Counsel is required to register for the court's
                  electronic filing system at PACER www.pacer.gov to register Attorney. Verified
                  Petition due by 3/5/2024. (no image attached) (CAH) (Entered: 02/20/2024)
 02/20/2024     3 PROPOSED SUMMONS to be issued re: each defendant by Plaintiff Angela Boykin.
                  (Albright, G.) (Entered: 02/20/2024)
 02/20/2024     4 PROPOSED SUMMONS to be issued re: all defendants by Plaintiff Angela Boykin.
                  (Albright, G.) (Entered: 02/20/2024)
